  Case 1:11-cr-00202-WMS-HBS              Document 121      Filed 09/06/12     Page 1 of 10




 UNITED STATES DISTRICT COURT
 WESTERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA,



                                                                       Hon. Hugh B. Scott
                                 v.
                                                                             11CR202S

                                                                              Order
 CHARLES PALMER,
 GEORGE KRAJAS, et al.,

                                  Defendants.


       Before the Court is the Government’s motion (Docket No. 1081) for reconsideration of

the decision to hold a Franks2 hearing for defendant George Krajas (Docket No. 103, Order of

July 19, 2012, at 11-13, 15; cf. Docket No. 76, Krajas Motion). Responses to this motion were

due by August 8, 2012, and the motion was argued on August 10, 2012 (text minute entry,

Aug. 10, 2012), and deemed submitted as of that date (Docket No. 112). As a result of that

motion, the Franks hearing scheduled for August 10, 2012 (see Docket No. 106; Docket No. 103,

Order of July 19, 2012, at 11-13, 15), was canceled (Docket No. 112). Familiarity with these

prior Orders is presumed.




       1
        In support of its motion, the Government submits its Motion, Docket No. 108. In
opposition, defendant Krajas submits his Reply Memorandum to Government’s Motion for
Reconsideration, Docket No. 116.
       2
           See Franks v. Delaware, 438 U.S. 154 (1978).
      Case 1:11-cr-00202-WMS-HBS          Document 121        Filed 09/06/12      Page 2 of 10




                                        BACKGROUND

         Defendants were indicted on June 16, 2011, in a multiple count Indictment for conspiracy

by all eleven defendants to possess with intent to distribute cocaine, cocaine base, marijuana, and

hydrocodone from at least November 2010, to the date of the Indictment (Docket No. 1, Indict.,

Count 1). Two defendants also were charged with seven individual counts of possession of

cocaine, cocaine base or marijuana by George Krajas or Charles Palmer, Sr., or by both Krajas

and Palmer, Sr., together (id. Counts 2-8). The Indictment also charges a forfeiture allegation

against premises on Broadway in Buffalo, New York (id. at pages 7-8). The alleged possessions

occurred in November of 2010, May and June of 2011 (id., Counts 2-8).

         This was a portion of one omnibus motion (among several filed by codefendants),

wherein defendant Krajas sought a Franks hearing regarding omissions from the record for

issuance of the wiretap Order, complaining that the agent’s affidavit contains boilerplate

allegations that have been rejected in other courts (Docket No. 76, Krajas Atty. Affirm. ¶¶ 29-35,

34). Krajas argued that there were material omissions in the wiretap application by not

disclosing the criminal background of CS-1, the confidential source relied upon as the basis for

seeking the wiretap, as well as purported personal bias of CS-1 (Docket No. 93, Krajas Memo. at

2-3). Looking at whether probable cause was established, Krajas pointed out that the affiant

agent relied upon information provided by confidential sources (id. at 7; Docket No. 83, Ex. A,

Aff. of Marcello Falconetti at 4-5). Krajas complained that it was not clear from the affidavit

whether one or multiple confidential sources were relied upon (Docket No. 93, Krajas Memo. at

7).




                                                 2
   Case 1:11-cr-00202-WMS-HBS              Document 121        Filed 09/06/12      Page 3 of 10




       The Government relied upon two informants, identified for now as CS-1 and CS-2, to

support probable cause for the wiretap Order. As for CS-1, Krajas argued that the omissions on

the reliability of CS-1 materially affected the application (id. at 8). As for CS-2, Krajas argued

alternatively that with CS-2 the necessity argument for wiretap was removed (since it is believed

that CS-1lived in Krajas’ household, see Docket No. 76, Krajas Atty. Aff. ¶ 213) and that CS-2

was unreliable (Docket No. 93, Krajas Memo. at 8-12). In anticipation of a Franks hearing,

Krajas also sought pre-hearing disclosure of all documents which might tend to show that the

Government had failed to disclose all of the information required by statute (Docket No. 76,

Krajas Atty. Aff. ¶¶ 36-38), listing specific categories of documents to be produced (id. ¶ 39).

       The Government responded that Krajas’ allegations about the facts not disclosed to the

issuing judge (about CS-1 living with defendant, his theft of $6,000, and pending criminal

charges against him) did not affect the Court’s probable cause decision in issuing the wiretap

Order (Docket No. 87, Gov’t Response to Krajas Motion ¶ 28). The Government concludes that

sufficient probable cause was shown for issuance of the wiretap Order (id. ¶ 30). In its

supplement, the Government pointed out that the affiant agent, Marcello Falconetti, was not

aware of CS-1’s criminal charges before or during the wiretaps, in fact learning of the pending

local court charges a year later in January 2011 (Docket No. 95, Gov’t Supp’al Response at 3-4;

id., Ex. A, Falconetti Aff. of Apr. 9, 2012, ¶¶ 3-4). Falconetti did not inquire further about the

nature of those pending charges in 2011 because CI-1 was represented by counsel in that matter

(id., Ex. A, Falconetti Aff. of Apr. 9, 2012, ¶ 4). The omission of CS-1’s criminal record was not



       3
        The Government declined to identify CS-1 or confirm Krajas’ identification, Docket
No. 87, Gov’t Response to Krajas, at 14 n.1.

                                                  3
   Case 1:11-cr-00202-WMS-HBS              Document 121          Filed 09/06/12    Page 4 of 10




necessary for the probable cause determination that Krajas was committing drug trafficking

crimes over his cellular telephone and Krajas failed to show that this omission was intentional or

reckless (Docket No. 95, Gov’t Supp’al Response at 4-5, Ex. B (wiretap Order)). Even if CS-1 is

excluded from consideration, the Government concludes that this Court had ample information to

support probable cause from CS-2, from prior purchases of cocaine by CS-2 from Krajas, from

the controlled purchases from Krajas by CS-2, and CS-2 stating that Krajas used the telephone to

conduct drug trafficking (id. at 5-6). (See Docket No. 103, Order of July 19, 2012, at 11-12.)

        This Court granted Krajas’ motion (id. at 13), stating

                “Again, Krajas needs to make a substantial showing that the warrant
        affidavit contains a false or omitted statement; that the statement was included
        intentionally or recklessly; and that the statement was an integral to the probable
        cause finding in order to be entitled to a Franks hearing, Franks, supra, 438 U.S.
        154. A review of the wiretap application shows that probable cause was
        established through CS-2 activities and interactions with Krajas. According to
        Agent Falconetti, CS-2 had made drug transactions with Krajas by calling Krajas
        on the cellular telephone that was to be monitored (Docket No. 83, Krajas Ex. A,
        Wiretap Application, Ex. C, Falconetti Aff. ¶¶ 17(a)(i), (ii), 20-34). CS-1, who
        Krajas now identifies and objects to omissions about his background, connects
        Palmer, Jr., as the supplier of cocaine to Krajas (id. ¶¶ 34(a), 16, 16(a)(i)-(ii)).
        CS-1 states that Krajas uses his cellular telephone to then sell these drugs (id.
        ¶ 16(a)(v)). But Krajas points to instances where CS-2 controlled when
        consensual conversations were recorded and, when not recorded, how
        Government agents had to rely upon CS-2’s version of the conversations (Docket
        No. 93, Krajas Memo. at 11-12).
                “Krajas has established that facts were omitted from Chief Judge Skretny
        in applying for the wiretap and that these statements (and the credibility findings
        that could be drawn from them) were integral to finding probable cause for the
        wiretap. Therefore, a Franks hearing will be held; a separate Order will notice
        that hearing.”

(Id.)

        The Government now moves for reconsideration, arguing that this Court failed to indicate

which specific facts were omitted from Chief Judge Skretny in his consideration of the wiretap


                                                  4
     Case 1:11-cr-00202-WMS-HBS             Document 121       Filed 09/06/12    Page 5 of 10




application and whether those facts were integral to the finding of probable cause (Docket

No. 108, Gov’t Motion at 1-2). The Government also faults the Order for not addressing whether

defendant made a “substantial preliminary showing” that the affiant, Federal Bureau of

Investigation agent Marcello Falconetti, made omissions knowingly and intentionally or with

reckless disregard for the truth, as required for a Franks hearing (id. at 2). The Government

concludes that this Court did not demonstrate that Krajas had established any of the elements

necessary for a Franks hearing--a false statement or material omission; made knowingly,

intentionally, recklessly; and was necessary for finding probable cause (id.).

        The Government contends that Falconetti was not aware of the omission Krajas points to,

the fact that CS-1 lived with Krajas.

                                            DISCUSSION

I.      Applicable Standards

        A.        Reconsideration Standard in Criminal Prosecutions

        Unlike the Federal Rules of Civil Procedure, the Federal Rules of Criminal Procedure

have no express provision for reconsideration of Orders. In this District, Judge Larimer in

another case has held that a Magistrate Judge had the “discretion to reconsider or reopen prior

proceedings which precipitated” the Magistrate Judge’s decision, United States v. Florack,

155 F.R.D. 49, 51 (W.D.N.Y. 1994). In Florack, the Government sought reconsideration

(pursuant to then Federal Rule of Criminal Procedure 12(f)4) by Magistrate Judge Fisher of his

refusal to allow the Government to argue an otherwise defaulted suppression motion, id. at 50-

51; see id. at 51-52 (Report & Rec. of Fisher, Mag. J.). Judge Siragusa of this Court held in


        4
            Now, in part, Federal Rule of Criminal Procedure 12(e).

                                                   5
   Case 1:11-cr-00202-WMS-HBS              Document 121         Filed 09/06/12      Page 6 of 10




United States v. Amanuel, No. 05CR6075, 2006 WL 266560, at *1 (W.D.N.Y. Jan. 31, 2006),

that the civil standard for reconsideration is applicable in criminal cases, that the standard for

reconsideration is “strict” and reconsideration “will generally be denied unless the moving party

can point to controlling decisions or data that the court overlooked–matters, in other words, that

might reasonably be expected to alter the conclusion reached by the court,” id. (internal

quotations and citations omitted).

       B.      Franks v. Delaware

       Under Franks a defendant may challenge whether false or material omission of material

was presented to the judge considering a warrant or wiretap application. Where “a defendant has

made a substantial preliminary showing that a false statement knowingly and intentionally, or

with reckless disregard for the truth, was included by the affiant in the warrant affidavit, and if

the allegedly false statement is necessary to the finding of probable cause, the Fourth

Amendment requires that a hearing be held at the defendant’s request,” 438 U.S. at 155-56; see

id. at 171. As held in Franks,

       To mandate an evidentiary hearing, the challenger’s attack must be more than
       conclusory and must be supported by more than a mere desire to cross-examine.
       There must be allegations of deliberate falsehood or of reckless disregard for the
       truth, and those allegations must be accompanied by an offer of proof. They
       should point out specifically the portion of the warrant affidavit that is claimed to
       be false; and they should be accompanied by a statement of supporting reasons.
       Affidavits or sworn or otherwise reliable statements of witnesses should be
       furnished, or their absence satisfactorily explained. Allegations of negligence or
       innocent mistake are insufficient. . . . Finally, if these requirements are met, and
       if, when material that is the subject of the alleged falsity or reckless disregard is
       set to one side, there remains sufficient content in the warrant affidavit to support
       a finding of probable cause, no hearing is required. On the other hand, if the
       remaining content is insufficient, the defendant is entitled, under the Fourth and
       Fourteenth Amendments, to his hearing.



                                                  6
      Case 1:11-cr-00202-WMS-HBS          Document 121         Filed 09/06/12    Page 7 of 10




Id. at 171-72 (footnote omitted). There is a presumption of validity with respect to the

supporting affidavit for warrant and wiretap applications, id. at 171.

II.      Application

         A.     Reconsideration

         Here, the Government points to elements of the standard for granting a Franks hearing

that were overlooked. The initial Order did not clearly indicate the false statement or omission at

issue for a hearing. The issues that warranted a hearing were (a) whether CS-1’s connection with

Krajas was disclosed to Chief Judge Skretny and (b) whether the fact the CS-2 controlled

whether or not his conversations were being recorded. Therefore, reconsideration is granted.

         B.     Defendant Preliminary Showing

         The Government contends that Krajas has not made a sufficient “substantial preliminary

showing” to warrant a Franks hearing (Docket No. 108, Gov’t Motion at 1-2). As previously

found (Docket No. 103, Order of July 19, 2012, at 13), Krajas has met that substantial

preliminary showing. First, Krajas faults reliance upon CS-1 since he lived with him and

committed offenses against him. Second, Krajas questions how controlled the transactions that

allegedly occurred with CS-2 since CS-2 controlled when consensual conversations with

defendant were recorded or not recorded (id.; see also Docket No. 93, Krajas Memo. at 11-12).

Having met that threshold, this Court must examine whether there were false statements or

material omissions from the application for the wiretap, whether these falsehoods or omissions

were knowing, and whether the statements at issue were necessary to show probable cause.




                                                 7
   Case 1:11-cr-00202-WMS-HBS              Document 121         Filed 09/06/12      Page 8 of 10




       C.      Whether False Statement or Material Omission Was Made?

       At issue here are material omissions about CS-1’s criminal history (including the alleged

robbery from Krajas) and how CS-2 conducted his consensual monitoring to justify issuance of

the wiretap; no one claims that false statements were made. The Government claims that agent

Falconetti did not know CS-1’s criminal history. As for CS-2, the Government states that most

of the conversations were consensually recorded by CS-2 (Docket No. 108, Gov’t Motion at 3-4)

but does not address the issue of CS-2’s control over the recording process.

       D.      Knowing, Intentional or Reckless Statement or Omission?

       The Government claims that agent Falconetti did not know of CS-1’s criminal history

and, later argued, that Falconetti could not (consistent with Justice Department policy) contact a

represented party (here CS-1) to learn that history. Other sources, such as the District Attorney’s

office or Town Court, were identified that Falconetti could have checked.

       Affiant Falconetti should have learned the criminal history of CS-1 before producing him

as a source for probable cause for a wiretap, even if this due diligence required him to contact the

District Attorney or other law enforcement (or run a state arrest record report) to learn if there

were anything that would taint the informant’s credibility. He did not need to violate Justice

Department regulations and make a direct inquiry of the represented informant outside the

presence of counsel; Falconetti could have had CS-1’s counsel present when asking. But,

Falconetti did not do this and relied upon the agent’s limited knowledge of the criminal history of

CS-1. At worst, this was negligence on the agent’s part and not sufficient grounds for a Franks

hearing, cf. Franks, supra, 438 U.S. at 171.




                                                  8
   Case 1:11-cr-00202-WMS-HBS             Document 121        Filed 09/06/12      Page 9 of 10




       But keeping the material arising from CS-1, there is a sufficient basis to support a finding

of probable cause and, despite any misgivings regarding CS-2, there is no basis for a Franks

hearing.

       E.      Statement Necessary for Probable Cause?

       Finally, the Government points to the statements of two other informants, CS-3 and CS-4,

as further support for issuance of the wiretap Order (Docket No. 108, Gov’t Motion at 4). But

these are regarding the activities of Charles Palmer, Sr., which might support a wiretap as to

Palmer but cannot be used as probable cause as to Krajas. The only connection between the

criminal activity and Krajas are CS-1 and CS-2. Thus, their statements were necessary to

establish probable cause to warrant a wiretap as to Krajas.

       F.      In Summary

       Upon reconsideration, this Court finds that Krajas made a substantial preliminary

showing for inquiry whether a Franks hearing should be held. The statements of CS-1 and CS-2

were necessary to establish probable cause to monitor Krajas’ telephone. There was an omission

from the facts presented to Chief Judge Skretny in CS-1’s recent criminal history, but that

omission was only due to the negligence of the affiant agent as to CS-1. That is not a sufficient

basis for a Franks hearing. Given that there was probable cause from CS-1’s statements, the fact

that CS-2 controlled the consensual recording process (rather than Government agents) and that

this may be a material omission not told to the Chief Judge, if putting CS-2’s material to one side

“there remains sufficient content in the warrant affidavit to support a finding of probable cause,

no [Franks] hearing is required,” Franks, supra, 438 U.S. at 172.




                                                 9
  Case 1:11-cr-00202-WMS-HBS            Document 121       Filed 09/06/12     Page 10 of 10




                                        CONCLUSION

       For the reasons stated above, the Government’s motion (Docket No. 108) for

reconsideration of the Order for a Franks hearing for defendant George Krajas is granted and

upon that reconsideration Krajas’ motion for a Franks hearing (Docket No. 76, Krajas Atty.

Affirm. ¶¶ 29-35) is denied

       So Ordered.


                                                              /s/ Hugh B. Scott
                                                           Honorable Hugh B. Scott
                                                           United States Magistrate Judge

Dated: Buffalo, New York
       September 6, 2012




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